
PER CURIAM
Respondent pleaded no contest to felony possession of a Schedule II CDS and no contest to first offense DWI. Prior to the filing of formal charges, respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline, in which the parties stipulated that respondent violated Rules 8.4(a) and 8.4(b) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Matthew Vance Shelton, Louisiana Bar Roll number 34349, be suspended from the practice of law for a period of three years. It is further ordered that all but six months of the suspension shall be deferred. Following the active portion of the suspension, respondent shall be subject to a period of probation to coincide with the remaining term of his monitoring agreement with the Judges and Lawyers Assistance Program. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred portion of the suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance *1251with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
